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 Date. 8t12t2020 Case: 1:20-cv-04564 Document
                                      Stateville #: 7 Filed: 09/01/20
                                                 Correctional         Page 3 of 6 PageID #:46
                                                                 Center
 Time: 12:66pm '                                 Trust Fund
 d_l ist_fu rlough_restitution          Furlough/Restitution Report                                           bq$
         REPORT CRITERIA - lnmate: N51744;          New page for each inmate ? : No; lnclude Zero Balances ? : Yes; Furlough       /
                  Restitution Type: All Types;     Report Type: Detail Line; Sort Order: lnmate Number; Status: All



lnmate                        lD#    Vendor                                     Transaction Type                       Amount    Balance
N51744 Thomas, Donzell
Housing Unit: STA-B -04-21    8921   58   Clerk US Dist Court Northern          73 Court Ordered Fees   08/13/2018                  19.79
                                                            Detailed History:   1   Beginning Balance   0811312018      350.00    350.00
                                                                                6 Lump Sum Payment      oBt13t2018       23.80    326.20
                                                                                3 Payment               0811312018        2.00    324.20
                                                                          .6      Lump Sum Payment      0910412018        4.00    320.20
                                                                                b Lump Sum Payment      09/1 9/201 8      6.00    314.20
                                                                                3   Payment             0912412018         .23    313.97
                                                                                6   Lump Sum Payment    10t04t2018        4.00    309.97
                                                                                6 Lump Sum Payment      10t16t2018       32.00    277.97
                                                                                6 Lump Sum Payment      1210212018        5.00    272.97
                                                                                6   Lump Sum Payment    1211212018        5.00    267.97
                                                                                6   Lump Sum Payment    01t10t2019        4.00    263.97
                                                                                3   Payment             0111412019         .16    263.81
                                                                                6   Lump Sum Payment    0112412019       10.00    253.81
                                                                                b   Lump Sum Payment    02t0712019        4.00    249.81
                                                                                3   Payment             o211412019         .19    249.62
                                                                                6   Lump Sum Payment    03102t2019       10.00    239.62
                                                                                3 Payment               0311512019        2.74    236.88
                                                                                6 Lump Sum Payment      041011201s        4.00    232.88
                                                                                3   Payment             0411512019        5.82    227.06
                                                                                6   Lump Sum Payment    0510212019        4.00    223.06
                                                                                3   Payment             0511512019        4.42    218.64
                                                                                6   Lump Sum Payment    071021201s        5.00    213.64
                                                                                6   Lump Sum Payment    0711312019        4.00    209.64
                                                                                6 Lump Sum Payment      0810412019        7.00    202.64
                                                                                3   Payment             08t1312019        2.OO    200.64
                                                                                6   Lump Sum Payment    0811912019        4.00     196.64
                                                                                6   Lump Sum Payment    08t30t2019        4.00     192.64
                                                                                6   Lump Sum Payment    0911312019        6.00     186.64
                                                                                6   Lump Sum Payment    10t24t2019       10.00     176.64
                                                                                6   Lump Sum Payment    1110112019        5.00     171.64
                                                                                6   Lump Sum Payment    1112312019       10.00     161.64
                                                                                6   Lump Sum Payment    1210112019        4.00     157.64
                                                                                6   Lump Sum Payment    12t17t2019        6.00     151.64
                                                                                6   Lump Sum Payment    0112212020        6.00     145.64
                                                                                6   Lump Sum Payment    o211112020        4.00     141.64
                                                                                3   Payment             0211412020         .05     141 .59
                                                                                6   Lump Sum Payment    o212812020       30.00     111.59
                                                                                6   Lump Sum Payment    0311312020         .83     110.76
                                                                                6   Lump Sum Payment    0311812020        4.00     106.76
                                                                                6   Lump Sum Payment    0410912020        6.00     100.76
                                                                                3   Payment             0411412020        1.97      98.79
                                                                                6 Lump Sum Payment      04t17t2020       20.00      78.79
                                                                                6 Lump Sum Payment      0413012020        5.00      73.79
                                                                                6 Lump Sum Payment      0510612020        5.00      68.79
                                                                                3   Payment             0511512020        2.00      66.79
                                                                                6   Lump Sum Payment    05t3012020        5.00      61.79
                                                                                3   Payment             0611112020        2.00      59.79
                                                                                6   Lump Sum Payment    07102t2020        5.00      54.79
                                                                                6   Lump Sum Payment    0712612020       30.00      24.75




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 Date:        Case: 1:20-cv-04564 Document #: 7 Filed: 09/01/20 Page 4 of 6 PageID #:47                                                   Page2
           811212020              Stateville Gorrectional Genter
 Time: 12:d6pm I                            Trust Fund
 d   list_furlough_restitution                        Furlough/Restitution Report

         REPORT CRITERIA - lnmate: N51744; New page for each inmate ? :                  No;
                                                                              lnclude Zero Balances ? :                     Yes;   Furlough   /
                  Restitution Type:All Types; Report Type: Detail         Line;
                                                                    Sort Order: lnmate Number; Status:All



                                       Vendor                                    Transaction Type                           Amount       Balance

N51744 Thomas, Donzell
Housing Unit: STA-B -04-21       8921 58   Clerk US Dist Court Northern          73 Court Ordered Fees          oan312018                     19.79

                                                             Detailed History:   6   Lump Sum                                                 19.79

                                  Payment lnstructions: 20.00% with 10.00 minimum balance.



                                                                                     Total Court Ordered Fees




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